









Dismissed and Memorandum Opinion filed March 24, 2005









Dismissed and Memorandum Opinion filed March 24, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00019-CR

____________

&nbsp;

CARLOS MARIO
MEJIA-MORAN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
180th District Court

Harris County,
Texas

Trial Court Cause No. 971,325

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to aggravated sexual assault
of a child.&nbsp; In accordance with the terms
of a plea bargain agreement with the State, the trial court sentenced appellant
on November 29, 2004, to confinement for fifteen years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed March 24, 2005.

Panel consists of Chief Justice
Hedges and Justices Fowler and Frost.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





